






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00513-CR






Abdul Hassain Shaw, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NO. 67267, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Abdul Hassain Shaw seeks to appeal from a judgment of conviction for
aggravated&nbsp;assault with a deadly weapon with bodily injury.  The trial court has certified that this is
a plea bargain case and that Shaw has no right of appeal.  The appeal is dismissed.  See Tex. R. App.
P. 25.2(a)(2), (d).


						                                                                                     

						Jeff Rose, Justice

Before Justices Puryear, Rose and Goodwin

Dismissed

Filed:   September 15, 2011

Do Not Publish


